                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION



                                         )
  CYNTHIA B. SCOTT, et al.,              )
                                         )
                          Plaintiffs,    )
                                         )               Case No. 3:12-cv-00036
           v.                            )               (Sr. Judge Norman K. Moon)
                                         )
  HAROLD W. CLARKE, et al.,              )
                                         )
                          Defendants.    )
                                         )
                                         )

                                    NOTICE OF CROSS-APPEAL

           Plaintiffs, by counsel, note their cross-appeal to the United States Court of Appeals for

  the Fourth Circuit from (1) the Findings of Fact and Conclusions of Law and Injunction Order

  entered in this action on January 2, 2019 (ECF Nos. 544 and 545), and (2) the Order entered in

  this action on May 22, 2019 (ECF No. 574), amending the Court’s January 2, 2019 Injunction

  Order.

                                                 Respectfully submitted,
                                                 PLAINTIFFS,
                                                 individually and on behalf of all others similarly
                                                 situated

                                                 By:
                                                         Shannon Ellis

                                                 Angela Ciolfi, VSB No. 65337
                                                 Brenda E. Castañeda, VSB No. 72809

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of July 2019, I will electronically file the foregoing
  with the Clerk of the Court using the CM/ECF system, which will then send a notification of
  such filing (NEF) to all counsel of record.




                                                         Shannon Ellis




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